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      S6 02/28/2022 Report Writer: Joshua Jenkins
         11/02/2022 Approved by: Nicholas Castle
         This report will document a preliminary autopsy report received from the
         Southwestern Institute of Forensic Sciences at Dallas (SWIFS) concerning the
         custodial death of Torry Lamont Newman.
      S7 03/11/2022 Report Writer: Joshua Jenkins
         11/02/2022 Approved by: Nicholas Castle
         This report will document evidence obtained through the issuance of a
         subpoena concerning Torry Lamont Newman's medical records held by UT
         Health East Texas Emergency Medical Service (EMS).
      S8 03/23/2022 Report Writer: Joshua Jenkins
         11/02/2022 Approved by: Nicholas Castle
         This report will document medical records obtained from the Smith County
         Sheriff’s Office Jail concerning the custodial death of Torry Lamont Newman.
      S9 04/04/2022 Report Writer: Joshua Jenkins
         11/02/2022 Approved by: Nicholas Castle
         This report will document the final autopsy report received from the
         Southwestern Institute of Forensic Sciences at Dallas concerning the custodial
         death of Torry Lamont Newman.
     S10 06/29/2022 Report Writer: Joshua Jenkins
         07/17/2023 Approved by: Nicholas Castle
         The report will document the submission of the investigative file with no
         criminal charges to the Smith County District Attorney's Office for review.
     S11 09/20/2023 Report Writer: Joshua Jenkins
         10/16/2023 Approved by: Nicholas Castle
         This report will document the closure of the investigative file.

SUPPLEMENTAL DETAILS
      S1    S1.1     On 02-18-2022, at 6:00 AM, I, Texas Ranger Joshua Jenkins was
            called to assist the Smith County Sheriff’s Office (SCSO) with the custodial
            death of an inmate. The death occurred at the Smith County Jail located at
            227 N. Spring Avenue, Tyler, Texas.



            S1.2    I spoke with SCSO Jail Lieutenant John Shoemaker who identified
            the deceased inmate as Torry Lamont Newman, (B/M, DOB: 09-14-1975).



            S1.3    Lieutenant Shoemaker told me jail staff discovered Newman in his
            separation cell unresponsive. SCSO jail and nursing staff employees
            attempted life saving measures but were unsuccessful.




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            S1.4    I responded to the scene to investigate the custodial death of
            Newman. Additional supplemental reports will detail investigative efforts by
            the Texas Rangers.



            S1.5    This investigation is ongoing.



      S2    S2.1     On 02-18-2022 at 6:58 AM, I, Texas Ranger Joshua Jenkins
            arrived on scene and met with Smith County Jail Lieutenant John
            Shoemaker. Shoemaker led me to the cell where Newman’s body was
            located. Newman was not transported from the jail because there were no
            signs of life following medical intervention.



            S2.3    Shoemaker told me Newman was inside of a separation cell and
            was being housed by himself. Newman’s cell has a motion sensor
            activated camera. Shoemaker stated they were working to provide me with
            a copy of the cell footage.


            S2.4     Newman was being housed in a single person cell labeled “Detox
            2.” Detox 2 is located on the first floor of the Smith County Jail within
            proximity of the jail’s booking area. There is a window on the cell’s door
            and two windows located to the right of the door. There was a tray of food
            outside Newman’s cell near the door, which Shoemaker told me belonged
            to Newman.


            S2.5     I looked inside the cell and noticed Newman’s unclothed body on
            the floor. Shoemaker stated once medical staff determined Newman was
            deceased, the cell was locked down until I could arrive on scene. I noticed
            medical intervention equipment and packaging inside of his cell.



            S2.6      Shoemaker told me according to jail staff, Newman was known to
            undress and remain undressed while he was in his cell. He stated Newman
            was supplied with an “overall” type jump suit, but Newman refused to wear
            it. There was a jail “jump suit” and sandals located inside of Newman’s
            cell.




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            S2.7     I took photographs of the inside and outside of Newman’s cell
            (S2.P1). I did not notice anything out of the ordinary while looking through
            Newman’s cell. There was no apparent trauma observed on Newman’s
            body.



            S2.8    I could detect an odor of urine on Newman’s body, and it
            appeared he may have urinated on himself at some point.



            S2.9       The toilet, which is in the middle of the cell floor was functional.
            The water fountain feature in Newman’s cell was functional and working
            properly. There were two plastic drinking cups sitting atop the water
            fountain.


            S2.10        Smith County Justice of the Peace Quincy Beavers arrived on
            scene and conducted an inquest. Judge Beavers ordered an autopsy be
            conducted and Newman’s body was transported to Southwestern Institute
            of Forensic Sciences in Dallas. I secured the body bag with a tamper proof
            seal for transport to the medical examiner’s office.


            S2.11         Shoemaker provided me with a list of jail staff who were
            working when Newman was discovered deceased. Shoemake told me jail
            supervision contacted Newman’s family members to deliver the death
            notification.



            S2.12     Shoemaker provided me with typed witness statements
            completed by jail staff, an observation log, and Smith County Sheriff’s
            Office booking sheet for Newman (S2.A1).



            S2.13      I took measurements of Newman’s cell and completed a
            drawing of the cell's layout (S2.A2).



            S2.14      This investigation is ongoing.



      S3    S3.1     On 02-18-2022, I, Texas Ranger Joshua Jenkins collected



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            surveillance footage from Smith County Sheriff’s Office (SCSO) Jail
            Lieutenant John Shoemaker. The footage captures the inside of Torry
            Lamont Newman’s (B/M, DOB: 09-14-1975) jail cell and other angles
            outside his cell.



            S3.2     Lieutenant Shoemaker told me Newman’s cell is equipped with a
            motion sensor camera. The camera will only record when it senses motion
            from inside the cell.


            S3.3    I watched the recordings provided to me, which consist of three
            sperate camera angles (S3.P1).


            S3.4    The first angle is from the motion sensor camera inside of
            Newman’s cell marked as “clip 1.” The recording is 40 minutes and 37
            seconds in length.



            S3.5    The recording is timestamped “DETOX 0148, 02-18-2022,
            04:22:26 AM at its start.



            S3.6     Newman is observed unclothed sitting on his bottom in the far-left
            corner of his cell. It appears Newman has urinated on himself as there is a
            puddle of liquid seen on the camera view underneath his feet. This is
            further supported by the smell of urine I detected while searching
            Newman’s cell for evidence.


            S3.7    Newman appears to be unsteady while he is sitting on the floor.
            His upper torso is observed rocking or swaying side-to-side. His orange
            jump suit is laying behind him on the floor of his cell.



            S3.8     The video jumps several times due to the camera being motion
            activated. The first jump occurs at 04:28:09, 04:30:06, 04:32:55 and
            eventually at 05:10:50 when jailers enter his cell.



            S3.9    At 05:10:50, Newman is observed laying on his back with his head




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            pointing towards the observation widow or cell doorway. His right leg is
            extended, and his left leg is bent at the knee with his left foot underneath
            his right thigh.



            S3.10      Newman’s left arm is extended down by his torso and his right
            arm is slightly extended but bent at the elbow. His head is pointed upwards
            with the left side of his face resting against the far-left cell wall.



            S3.11    SCSO jailers are observed trying to get Newman to respond to
            them. There is no audio to the recording, so no sound is heard.


            S3.12     The first jailer observed entering Newman’s cell is observed
            touching Newman’s right hand at least twice with no response from
            Newman. The jailer is Norali Velazquez, (W/F, DOB:               ).



            S3.13     Another male jailer is seen entering the cell and touching
            Newman to illicit a response from Newman. A female jailer, Sergeant Maria
            Vallejo-Robles, (W/F, DOB:             ) enters the cell and is observed
            touching Newman’s stomach with no response from Newman.



            S3.14     At 05:13:01 a female nurse enters Newman’s cell and begins life
            saving measures. The nurse starts chest compressions on Newman as
            another nurse arrives in the cell with an automatic external defibrillator
            (AED). The two nurses are Maria Dimaculanga, (W/F, DOB:
            and Kelly Nicole Ellis, (W/F, DOB:             ).



            S3.15     Nurse Ellis entered the cell with the AED and is observed
            attaching the device to Newman’s body. Nurse Ellis is observed doing
            chest compressions on Newman. Nurse Dimaculanga returns with a
            resuscitator and takes over performing chest compressions on Newman.



            S3.16   Both nurses are observed alternating between chest
            compressions and resuscitation efforts on Newman. These life saving
            measures continued until 05:24:31 when emergency medical services
            (EMS) personnel arrived.




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            S3.17      UT Health East Texas EMS personnel arrive on scene and
            continue lifesaving efforts on Newman.



            S3.18     EMS personnel are observed pulling Newman’s body from the
            raised concrete bed and onto the floor. EMS continued to do chest
            compressions on Newman and Tyler Fire Department personnel are
            observed arriving on scene at 05:28:48.



            S3.19    A Tyler Fireman is observed continuing compressions on
            Newman’s body.



            S3.20     EMS and Tyler Firemen continue resuscitation efforts on
            Newman till 05:51:39. The recording inside of Newman’s cell ends at
            05:54:37.


            S3.21     Clip 2 is the second angle of footage collected from SCSO. This
            recording captures footage from outside of Newman’s cell. The recording is
            1 hour, 40 minutes, and 3 seconds in length.



            S3.22     The timestamp on the footage is “Booking, 02-08-2022, 04:20:00
            AM.” It captures the booking desk and the hallway area in front of
            Newman’s cell. There is no audio with the footage and the footage is
            somewhat distorted, but viewable. The camera’s timestamp date is off by
            10 days showing February 8th rather than February 18th, 2022.



            S3.23     At 04:31:27 AM, SCSO Sergeant Vallejo-Robles is observed
            near Newman’s cell where it is believed she conducted an observation
            check on Newman. This camera angle makes it hard to physically observe
            her looking into his cell.


            S3.24    However, there is a corresponding time entry made by Sergeant
            Vallejo-Robles on the SCSO Central Jail observation sheet at 04:31 AM,
            on 02-18-2022 (S3.A1).




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            S3.25     At 04:51:27 AM, SCSO Jailer Tre Kobe Washington, (B/M, DOB:
                       ) is observed near Newman’s cell where it is believed he
            conducted an observation check on Newman. There is a corresponding
            entry made on the SCSO Central Jail observation sheet at 04:51 AM, on
            02-18-2022. Again, the camera angle makes it hard to physically observe
            him looking into Newman’s cell.



            S3.26     At 05:09:53 AM, SCSO Jailer Velazquez is observed near
            Newman’s cell where it is believed she conducted an observation check on
            Newman. There is a corresponding entry made on the SCSO Central Jail
            observation sheet at 05:11 AM, 02-18-2022.


            S3.27     At 05:10:26 AM, Jailer Velazquez is observed retrieving gloves
            near the booking desk and returning to Newman’s cell with a male jailer
            watching from the booking desk.


            S3.28     The male jailer and Sergeant Vallejo-Robles walk over to
            Newman’s cell where it is believed they entered the cell with Jailer
            Velazquez.



            S3.29     Sergeant Vallejo-Robles is observed exiting the cell and appears
            to be using the phone at the booking desk.



            S3.30    Sergeant Vallejo-Robles returns to Newman’s cell and is
            observed putting gloves on.



            S3.31    At 05:13:03 AM, SCSO jail nurses Dimaculanga and Ellis are
            observed arriving at Newman’s cell.



            S3.32   At 05:24:23 AM, UT Health East Texas EMS is observed arriving
            at Newman’s cell.




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            S3.33   At 05:28:35 AM, Tyler Fire Department is observed arriving on
            scene and entering Newman’s cell.



            S3.34       There is activity observed in front of Newman’s cell by various jail
            staff, fireman, and EMS personnel until the recording stops at 06:00:02
            AM.



            S3.35    Clip 3 is the third angle of footage collected from SCSO. The
            footage captures another angle from outside of Newman’s cell. The
            recording is 1 hour, 7 minutes, and 5 seconds in length.



            S3.36     The timestamp on the footage is Booking Waiting, 02-18-2022,
            04:20:00 AM. It captures the waiting area for inmates and an area in front
            of Newman’s cell. There is no audio with this footage.



            S3.37      After reviewing clip 3 footage the times are consistent with the
            significant times, I’ve listed in clip 1 and clip 2. The recording shuts off at
            05:59:44 AM.



            S3.38      There is no footage capturing anyone entering Newman’s cell
            until he is observed by Jailer Velazquez at 05:09:53 AM.



            S3.39        According to footage captured in clip 1, Newman is still alive at
            04:33:07 AM, 02-18-2022. Due to the motion sensor camera not activating
            until Jailer Velazquez enters Newman’s cell, no other time is recorded until
            05:10:50 AM. There is roughly 37 minutes and 43 seconds of unrecorded
            time due to SCSO’s sensor motion camera.



            S3.40     This investigation is ongoing.



      S4    S4.1   On 02-22-2022, at 7:46 PM, I, Texas Ranger Joshua Jenkins
            conducted an audio/video recorded interview with SCSO Central Jail SGT
            Maria Vallejo-Robles, (W/F, DOB:            ).




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            S4.2     The interview took place at the Smith County Central Jail. Sgt
            Vallejo-Robles was allowed to review her written statement prior to the
            interview.


            S4.3     The following summary does not contain all comments made
            during the interview, nor does it necessarily reflect the chronology. For a
            complete account, please refer to the recording made (S4.P1).



            S4.4    The entire recording is 15 minutes and 23 seconds in length.


            S4.5    Sgt Vallejo-Robles said her shift came on duty at 7:00 PM, 02-17-
            2022. Sgt Vallejo-Robles is a SCSO jail shift supervisor responsible for
            supervising other SCSO jailers on her shift.


            S4.6    Sgt Vallejo-Robles stated Torry Lamont Newman, (B/M, DOB:
                    ) was in a cell by himself due to his mental state. She said he
            wasn’t aggressive but couldn’t be with other inmates because he couldn’t
            take care of himself. She did not recall any significant information
            concerning Newman during her briefing with jail staff from 1st shift.



            S4.7    She described a prior incident where Newman would ask jail staff
            where he was. She said he made statements about not knowing he had
            been arrested.



            S4.8      She told me Newman denied his medications the evening prior to
            his death. She said Newman usually slept all night. She said she saw
            Newman awake around 2 or 3 in the morning. She stated he was just
            sitting in his cell.



            S4.9    Sgt Vallejo-Robles stated sometimes Newman would take his
            medications and other times he would not. She made the comment that
            SCSO nurses have told her they can’t force someone to take their
            medication.




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            S4.10    She told me she believed Newman was seen by mental health
            professionals at the jail. She told me this usually occurs on day shift
            though.


            S4.11    Sgt Vallejo-Robles said one of her jailers, Norila Velazquez,
            (W/F, DOB:             ) was performing an observation check around
            5:00 AM the morning of 02-18-2022. Velazquez told Sgt Vallejo-Robles,
            Newman had been laying in the same position for the last 2 to 3
            observation checks.



            S4.12   Sgt Vallejo-Robles originally believed Newman was asleep
            because he usually slept during the night.



            S4.13  Jailer Velazquez told Sgt Vallejo-Robles she was watching
            Newman’s stomach and it doesn’t seem like he is breathing.



            S4.14    Sgt Vallejo-Robles said her, Jailer Velazquez, and Jailer Nicholas
            Vega, (W/M, DOB:                 ) went inside Newman’s cell, and he wasn’t
            breathing. She could visibly tell he wasn’t breathing, and his eyes were
            open.



            S4.15    She went back to the booking desk to call “Code Blue” and for
            the nurses to come. She said Code Blue is a medical emergency
            announcement to alert other jailers and jail staff.



            S4.16     She stated while the nurses were performing cardiopulmonary
            resuscitation (CPR) on Newman she called emergency medical services
            (EMS) to respond to the jail.



            S4.17     Sgt Vallejo-Robles said EMS and Fire Department personnel
            arrived minutes later.




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            S4.18    She stated EMS performed CPR on Newman for roughly 20
            minutes until they told her Newman was deceased.



            S4.19     Sgt Vallejo-Robles said she asked one of the EMS workers what
            happened because they didn’t know why Newman was dead. She told me
            the EMS worker told her they were not 100 precent certain but guessing it
            could be from a stroke or heart attack.



            S4.20  She told me she contacted SCSO Jail Lieutenant John
            Shoemaker who she believed contacted the Texas Rangers.


            S4.21     Sgt Vallejo-Robles told me she believed Newman had been in a
            single cell by himself for little over a week. She stated he was sentenced
            on a driving while intoxicated charge and brought to the jail from the
            courthouse.



            S4.22    She described Newman’s routine behavior as sleeping all the
            time. She said Newman would not talk or ask for stuff. She told me he
            would only talk to you when it was time for medication or to eat.



            S4.23      Sgt Vallejo-Robles said Newman would just walk around in his
            cell. She told me he would not come to the window much and look out into
            the booking area.



            S4.24    She stated they provided Newman with an orange jumper to
            wear but he would take it off. She said it was normal to see Newman
            naked in his cell.



            S4.25    I concluded the interview with Sgt Vallejo-Robles at 8:02 PM.



            S4.26    This investigation is ongoing.



      S5



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            S5.1      On 02-22-2022, at 8:29 PM, I, Texas Ranger Joshua Jenkins
            conducted an audio/video recorded interview with SCSO Central Jail
            (Jailer) Nicholas Lee Vega, (W/M, DOB:             ).



            S5.2     The interview took place at the Smith County Central Jail. Jailer
            Vega was allowed to review his written statement prior to the interview
            (S5.A1).



            S5.3     The following summary does not contain all comments made
            during the interview, nor does it necessarily reflect the chronology. For a
            complete account, please refer to the recording made (S5.P1).


            S5.4    The entire recording is 16 minutes and 04 seconds in length.



            S5.5     Vega confirmed working the evening of 02-17-2022 to the morning
            of 02-18-2022. He told me he was in the booking area waiting on inmate’s
            food trays to be brought in.


            S5.6     Vega said the timer went off in the booking area alerting Jailer
            Norali Velazquez, (W/F, DOB:               ) to conduct observation checks.



            S5.7     Vega told me when Jailer Velazquez got to Detox 2, she told him
            she did not believe Torry Lamont Newman, (B/M, DOB:               ) was
            breathing. He said this around 5:07 or 5:11 AM, 02-18-2022.


            S5.8    Vega said he went to the door with Jailer Velazquez and opened
            Newman’s cell door. He stated most of Newman’s body was positioned on
            the bed area in the cell. He told me he observed Newman and did not see
            any chest rising movement to indicate Newman was breathing.



            S5.9     Vega stated he walked over to Newman and thought at first, he
            was just sleeping. When he got closer, he saw Newman had one eye
            opened and it shocked him. Vega said he touched Newman on his arm,
            and he felt cold to the touch.




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            S5.10     Vega stated he told Jailer Velazquez and Sergeant (SGT) Maria
            Vallejo-Robles, (W/F, DOB:              ), Newman was cold. Vega said he
            began looking for a pulse on Newman’s body.


            S5.11    Vega told me SGT Vallejo-Robles returned to the booking area
            and called a Code Blue.



            S5.12      Vega said their medical team arrived in the cell and started
            doing chest compressions on Newman. The team consisted of two SCSO
            Jail nurses, Maria Dimaculanga, (W/F, DOB:                ) and Kelly Nicole
            Ellis, (W/F, DOB:            ).



            S5.13       Vega told me he was in shock about what was going on with
            Newman. He said Jailer Velazquez told medical staff, Newman was found
            in the cell not breathing.


            S5.14     Vega said someone called emergency medical services (EMS)
            but he was unsure of who. He stated they arrived along with firefighters
            and took over medical intervention.



            S5.15     Vega told me he was scared watching what was happening. He
            stated he had never experienced anything like that before in his life.



            S5.16       Vega told me him along with several other jailers stood outside
            the cell while EMS did their job. He said after 30 minutes they called it,
            referring to them stopping medical intervention on Newman.



            S5.17   Vega told me he did not recall any briefing information about
            Newman prior to their shift beginning.



            S5.18   Vega stated Newman was unclothed in his cell, but his orange
            jumper was laying in his cell. He told me he thought Newman had mental




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            issues.



            S5.19     Vega was able to recall the automatic external defibrillator (AED)
            giving audible commands while the nurses performed life saving
            measures.



            S5.20      The interview with Vega was concluded at 8:45 PM.



            S5.21      This investigation is ongoing.



      S6    S6.1     On 02-28-2022, I, Texas Ranger Joshua Jenkins received a
            preliminary autopsy report from SWIFS in reference to the custodial death
            of Torry Lamont Newman, (B/M, DOB: 09-14-1975), (S6.A1).


            S6.2      This investigation is ongoing.



      S7    S7.1    On 03-11-2022, at 2:56 PM, I, Texas Ranger Joshua Jenkins
            received records from UT Health East Texas Emergency Medical Services
            (EMS) after the execution of a subpoena.



            S7.2  These records are concerning the custodial death of Torry Lamont
            Newman, (B/M, DOB: 09-17-1975), (S7.P1).



            S7.3      This investigation is ongoing.



      S8     S8.1    On 03-23-2022, at 1:49 PM, I, Texas Ranger Joshua Jenkins
            received a copy of Torry Lamont Newman’s, (B/M, DOB: 09-17-1975)
            medical records held by the Smith County Sheriff’s Office Jail (S8.A1).



            S8.2      This investigation is ongoing.




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      S9     S9.1     On 04-04-2022, at 2:50 PM, I, Texas Ranger Joshua Jenkins
            received a final autopsy report from SWIFS concerning the custodial death
            of Torry Lamont Newman, (B/M, DOB: 09-17-1975), (S9.A1 and S9.A2).


            S9.2    This investigation is ongoing.



     S10    S10.1     On 04-08-2022, I, Texas Ranger Joshua Jenkins have reviewed
            the investigative findings concerning the custodial death of Torry Lamont
            Newman. There are no criminal charges related to Newman’s death.



            S10.2 The investigative findings will be submitted to the Smith County
            District Attorney's (DA) Office for review.



            S10.3 This investigation is ongoing pending a disposition from the Smith
            County DA's office.



     S11    S11.1    On 09-20-2023, at 11:35 AM, I, Texas Ranger Joshua Jenkins
            received a letter from the Smith County District Attorney's (DA) Office.



            S11.2 The letter advised the Smith County DA's office conducted a
            review of the investigative file concerning the custodial death of Torry
            Lamont Newman, (B/M, DOB: 09-14-1975). According to the letter, the
            DA's office made the determination not to present the investigation to a
            grand jury (S11.A1).



            S11.3      Based on their findings; I recommend closure of the investigative
            file. No additional information to follow.



            S11.4    End of report.




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INVESTIGATION REQUESTED BY
Smith County Sheriff's Office Ulw (TX2120012)
P.o. Box 90
Tyler, Texas
75710
External to DPS Requestor Name: Lieutenant John Shoemaker

VICTIMS
      S1 Newman, Torry Lamont - Black/Male - 09/14/1975
         Hair: Black    Eyes: Brown Weight: 190 Height: 5' 09"
                                     lbs
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S2 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S3 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S4 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S5 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S6 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S7 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S8 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

      S9 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX



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         2058             19534034

     S10 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034

     S11 Newman, Torry Lamont - Black/Male - 09/14/1975
         SSN: 463-33-   DL#:         DL State: TX
         2058           19534034


WITNESSES
      S5 Vega, Nicholas Lee - White/Male -
         Velazquez, Norali - White/Female -
         Vallejo, Maria Robles - White/Female -
         Dimaculanga, Maria - White/Female -
         Ellis, Kelly Nicole - White/Female -


INVOLVED
      S3 Velazquez, Norali - White/Female
         DL State: TX
         Washington, Tre Kobe - Black/Male
         DL State: TX
         Vallejo-Robles, Maria - White/Female
         DL State: TX
         Dimaculanga, Maria - White/Female
         DL State: TX
         Ellis, Kelly Nicole - White/Female
         DL State: TX

      S4 Vallejo-Robles, Maria - White/Female
         DL State: TX
         Valazquez, Norlia - White/Female
         DL State: TX
         Vega, Nicholas - White/Male
         DL State: TX


INVOLVED LOCATIONS
">">
     S1 Smith County Sheriff's Office Jail
        Smith County Jail, 206 E. Elm



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         Tyler, TX 75702
         Smith County Jail, Tyler, Texas.


      S2 Smith County Sheriff's Office Jail
         Smith County Jail, 206 E. Elm
         Tyler, TX 75702
         1st floor Detox "B" Cell


      S3 Smith County Sheriff's Office Jail
         Smith County Jail, 206 E. Elm
         Tyler, TX 75702
         DETOX "B," first floor Central Jail

      S4 Smith County Sheriff's Office Jail
         Smith County Jail, 206 E. Elm
         Tyler, TX 75702
         Activity Location

      S5 Smith County Sheriff's Office Jail
         Smith County Jail, 206 E. Elm
         Tyler, TX 75702
         Activity Location


OFFENSES
      S1 Custodial Death N/A N/A N/A
         Smith County, Tyler, TX, US
         02/18/2022 ( Friday )
         Victim: Newman, Torry

CHARGES

PERSONNEL
      S1 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

         Lieutenant John Shoemaker,
         SO|Sheriff

      S2 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789



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         Lieutenant John Shoemaker,
         Sheriff

      S3 Lieutenant John Shoemaker,
         SO|Sheriff

         Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

      S4 Lieutenant John Shoemaker,
         SO|Sheriff

         Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

      S5 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

      S6 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

      S7 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

         Stephen Baggett, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 939-6132

      S8 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

         Thomas Wilson (Asst DA Smith County),
         District Attorney

      S9 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

     S10 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety



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         (903) 758-1789

     S11 Joshua Jenkins, Texas Rangers "B"
         Texas Dept of Public Safety
         (903) 758-1789

         Chris Gatewood ,
         District Attorney


EVIDENCE
   S2.P1 Evidence:     Photograph
         Seizure Type:Probable Cause
         Seizure Date: 02/18/2022 0814
         Description: 1 compact disk containing photographs of the custodial
                       death of Torry Lamont Newman taken at the Smith County
                       Jail.
         Address:      , TX
         By:           Joshua Jenkins

         Disposition:
         Status:                      Requested/Authorized By: Date/Time:
         Retained through             Texas Ranger Joshua      02/18/2022
         Appeal/Sentence Duration     Jenkins                  1600

   S3.P1 Evidence:     Audio and/or Video recording (other)
         Seizure Type:Probable Cause
         Seizure Date: 02/18/2022 0900
         Description: 1 compact disk containing video only recordings from the
                       Smith County Central Jail concerning the custodial death
                       of Torry Lamont Newman.
         Address:      , TX
         By:           Joshua Jenkins

         Disposition:
         Status:                      Requested/Authorized By: Date/Time:
         Retained through             Texas Ranger Joshua      02/18/2022
         Appeal/Sentence Duration     Jenkins                  0900

   S4.P1 Evidence:     Witness Statement Audio and/or Video recording
                       (statement)
         Seizure Type:Probable Cause
         Seizure Date: 02/22/2022 2010
         Description: 1 compact disk containing an audio/video recorded
                       interview with SCSO Central Jail Sergeant Maria Vallejo-




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                       Robles at the Smith County Jail.
         Address:      , TX
         By:           Joshua Jenkins

         Disposition:
         Status:                     Requested/Authorized By: Date/Time:
         Retained through            Texas Ranger Joshua      02/22/2022
         Appeal/Sentence Duration    Jenkins                  2010

   S5.P1 Evidence:     Witness Statement Audio and/or Video recording
                       (statement)
         Seizure Type:Probable Cause
         Seizure Date: 02/22/2022 2029
         Description: 1 compact disk containing an audio/video interview with
                       SCSO Jailer Nicholas Vega
         Address:      , TX
         By:           Joshua Jenkins

         Disposition:
         Status:                     Requested/Authorized By: Date/Time:
         Retained through            Texas Ranger Joshua      02/22/2022
         Appeal/Sentence Duration    Jenkins                  2029

   S7.P1 Evidence:     Subpoena
         Seizure Date: 03/11/2022 1456
         Description: 1 compact disk containing Torry Lamont Newman's
                       medical records from UT Health East Texas EMS
                       obtained through the issuance of a subpoena.
         Address:      , TX
         By:           Joshua Jenkins

         Disposition:
         Status:                     Requested/Authorized By: Date/Time:
         Retained through            Texas Ranger Joshua      03/11/2022
         Appeal/Sentence Duration    Jenkins                  1456


ATTACHMENT NAME(S)
  S2.A1.pdf,S2.A2 Drawing Not to Scale.jpg
  S3.A1 Jail Observation Log SCSO.pdf
  S5.A1 Vega Written Statement.pdf
  S6.A1 Preliminary Autopsy Newman.pdf
  S8.A1 SCSO Medical Records Newman.pdf
  S9.A1 Final Report SWIFS.pdf,S9.A2 Final Report wTox SWIFS.pdf
  S11.A1 Notice SC DA 92023.pdf



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                                 END OF REPORT




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